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 1                                                                                    Hon. Richard A. Jones

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 3

 4
                                    UNITED STATES DISTRICT COURT
 5                                 WESTERN DISTRICT OF WASHINGTON
                                          SEATTLE DIVISION
 6

 7     SECURITIES AND EXCHANGE                               Case No. 2:18-cv-01121-RAJ
       COMMISSION,
 8
                                                             FINAL JUDGMENT AS TO
                      Plaintiff,                             DEFENDANT ANUP MADAN
 9
               vs.
10
       ANUP MADAN,
11
                      Defendant.
12

13

14          The Securities and Exchange Commission having filed a Complaint and Defendant Anup

15   Madan having entered a general appearance; consented to the Court’s jurisdiction over Defendant
16   and the subject matter of this action; consented to entry of this Final Judgment without admitting or
17
     denying the allegations of the Complaint (except as to jurisdiction and except as otherwise provided
18
     herein in paragraph [V]); waived findings of fact and conclusions of law; and waived any right to
19
     appeal from this Final Judgment:
20

21                                                      I.

22          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is permanently

23   restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities
24
     Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated
25
     thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate commerce,
26
     or of the mails, or of any facility of any national securities exchange, in connection with the
27
     purchase or sale of any security:
28
       FINAL JUDGMENT                                                         SECURITIES AND EXCHANGE COMMISSION
       AS TO DEFENDANT MADAN                                                          444 S. FLOWER STREET, SUITE 900
       SEC V. ANUP MADAN                                     1                                  LOS ANGELES, CA 90071
                                                                                               TELEPHONE: 323-965-3998
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 1          (a)      to employ any device, scheme, or artifice to defraud;

 2          (b)      to make any untrue statement of a material fact or to omit to state a material fact
 3
                     necessary in order to make the statements made, in the light of the circumstances
 4
                     under which they were made, not misleading; or
 5
            (c)      to engage in any act, practice, or course of business which operates or would
 6
                     operate as a fraud or deceit upon any person.
 7

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

 9   Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
10   actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s officers,
11
     agents, servants, employees, and attorneys; and (b) other persons in active concert or participation
12
     with Defendant or with anyone described in (a).
13
                                                        II.
14

15          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

16   permanently restrained and enjoined from violating Section 14(e) of the Exchange Act [15 U.S.C. §

17   78n(e)] and Rule 14e-3 [17 C.F.R. § 240.14e-3] promulgated thereunder, in connection with any
18   tender offer or request or invitation for tenders, from engaging in any fraudulent, deceptive, or
19
     manipulative act or practice, by:
20
                     (a)    purchasing or selling or causing to be purchased or sold the securities sought
21
                            or to be sought in such tender offer, securities convertible into or
22

23                          exchangeable for any such securities or any option or right to obtain or

24                          dispose of any of the foregoing securities while in possession of material

25                          information relating to such tender offer that Defendant knows or has reason
26
                            to know is nonpublic and knows or has reason to know has been acquired
27
                            directly or indirectly from the offering person; the issuer of the securities
28
       FINAL JUDGMENT                                                          SECURITIES AND EXCHANGE COMMISSION
       AS TO DEFENDANT MADAN                                                           444 S. FLOWER STREET, SUITE 900
       SEC V. ANUP MADAN                                      2                                  LOS ANGELES, CA 90071
                                                                                                TELEPHONE: 323-965-3998
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 1                      sought or to be sought by such tender offer; or any officer, director, partner,

 2                      employee or other person acting on behalf of the offering person or such
 3
                        issuer, unless within a reasonable time prior to any such purchase or sale such
 4
                        information and its source are publicly disclosed by press release or
 5
                        otherwise; or
 6
                 (b)    communicating material, nonpublic information relating to a tender offer,
 7

 8                      which Defendant knows or has reason to know is nonpublic and knows or has

 9                      reason to know has been acquired directly or indirectly from the offering
10                      person; the issuer of the securities sought or to be sought by such tender
11
                        offer; or any officer, director, partner, employee, advisor, or other person
12
                        acting on behalf of the offering person of such issuer, to any person under
13
                        circumstances in which it is reasonably foreseeable that such communication
14

15                      is likely to result in the purchase or sale of securities in the manner described

16                      in subparagraph (a) above, except that this paragraph shall not apply to a

17                      communication made in good faith
18                             (i)      to the officers, directors, partners or employees of the
19
                                        offering person, to its advisors or to other persons, involved
20
                                        in the planning, financing, preparation or execution of such
21
                                        tender offer;
22

23                             (ii)     to the issuer whose securities are sought or to be sought by

24                                      such tender offer, to its officers, directors, partners,

25                                      employees or advisors or to other persons involved in the
26
                                        planning, financing, preparation or execution of the
27
                                        activities of the issuer with respect to such tender offer; or
28
     FINAL JUDGMENT                                                         SECURITIES AND EXCHANGE COMMISSION
     AS TO DEFENDANT MADAN                                                          444 S. FLOWER STREET, SUITE 900
     SEC V. ANUP MADAN                                   3                                    LOS ANGELES, CA 90071
                                                                                             TELEPHONE: 323-965-3998
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 1                                 (iii)   to any person pursuant to a requirement of any statute or

 2                                         rule or regulation promulgated thereunder.
 3
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal
 4
     Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive
 5
     actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s officers,
 6
     agents, servants, employees, and attorneys; and (b) other persons in active concert or participation
 7

 8   with Defendant or with anyone described in (a).

 9                                                     III.
10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is liable for
11
     disgorgement of $14,023, representing profits gained as a result of the conduct alleged in the
12
     Complaint, together with prejudgment interest thereon in the amount of $618.47, and a civil penalty
13
     in the amount of $14,023 pursuant to Section 21A of the Exchange Act [15 U.S.C. § 78u-1].
14

15   Defendant shall satisfy this obligation by paying $28,664.47 to the Securities and Exchange

16   Commission within 14 days after entry of this Final Judgment.

17           Defendant may transmit payment electronically to the Commission, which will provide
18   detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly from
19
     a bank account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.
20
     Defendant may also pay by certified check, bank cashier’s check, or United States postal money
21
     order payable to the Securities and Exchange Commission, which shall be delivered or mailed to
22

23          Enterprise Services Center
            Accounts Receivable Branch
24          6500 South MacArthur Boulevard
            Oklahoma City, OK 73169
25
     and shall be accompanied by a letter identifying the case title, civil action number, and name of this
26

27   Court; Anup Madan as a defendant in this action; and specifying that payment is made pursuant to

28   this Final Judgment.
       FINAL JUDGMENT                                                        SECURITIES AND EXCHANGE COMMISSION
       AS TO DEFENDANT MADAN                                                         444 S. FLOWER STREET, SUITE 900
       SEC V. ANUP MADAN                                      4                                LOS ANGELES, CA 90071
                                                                                              TELEPHONE: 323-965-3998
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 1             Defendant shall simultaneously transmit photocopies of evidence of payment and case

 2   identifying information to the Commission’s counsel in this action. By making this payment,
 3
     Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part of
 4
     the funds shall be returned to Defendant. The Commission shall send the funds paid pursuant to
 5
     this Final Judgment to the United States Treasury.
 6
               The Commission may enforce the Court’s judgment for disgorgement and prejudgment
 7

 8   interest by moving for civil contempt (and/or through other collection procedures authorized by

 9   law) at any time after 14 days following entry of this Final Judgment]. Defendant shall pay post
10   judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
11
                                                           IV.
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               IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
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     incorporated herein with the same force and effect as if fully set forth herein, and that Defendant
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15   shall comply with all of the undertakings and agreements set forth therein.

16                                                          V.

17             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of
18   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the
19
     allegations in the complaint are true and admitted by Defendant, and further, any debt for
20
     disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
21
     Final Judgment or any other judgment, order, consent order, decree or settlement agreement entered
22

23   in connection with this proceeding, is a debt for the violation by Defendant of the federal securities

24   laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

25   Bankruptcy Code, 11 U.S.C. §523(a)(19).
26
     ///
27
     ///
28
           FINAL JUDGMENT                                                      SECURITIES AND EXCHANGE COMMISSION
           AS TO DEFENDANT MADAN                                                       444 S. FLOWER STREET, SUITE 900
           SEC V. ANUP MADAN                                5                                    LOS ANGELES, CA 90071
                                                                                                TELEPHONE: 323-965-3998
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 1                                                        VI.

 2          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain
 3
     jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.
 4
                                                          VII.
 5
            There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil
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     Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.
 7

 8          DATED this 14th day of August, 2018.

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10                                                        A
11                                                        The Honorable Richard A. Jones
                                                          United States District Court Judge
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       FINAL JUDGMENT                                                        SECURITIES AND EXCHANGE COMMISSION
       AS TO DEFENDANT MADAN                                                         444 S. FLOWER STREET, SUITE 900
       SEC V. ANUP MADAN                                   6                                   LOS ANGELES, CA 90071
                                                                                              TELEPHONE: 323-965-3998
